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                                                                                                  U.S. DISTRICT COURT
                                                                                                      N.D. OF ALABAMA


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

    IN RE BLUE CROSS BLUE SHIELD                    :
    ANTITRUST LITIGATION                            : Master File 2:13-cv-20000-RDP
    MDL 2406                                        :
                                                    :
                                                    :
                                                    : This document relates to
                                                    : Subscriber Track cases

              SUBSCRIBERS’ MOTION TO REQUIRE AN APPEAL BOND

       Subscribers move this Court to require the six objectors to the Settlement who have filed

appeals to post an appeal bond under Federal Rules of Appellate Procedure 7 and 8, as well as

this Court’s inherent authority.

                   INTRODUCTION AND SUMMARY OF ARGUMENT

       This is one of the largest and most impactful antitrust settlements in history. Nearly a

decade of grueling litigation has earned the Subscriber Class 1 an agreement with $2.67 billion in

cash, plus injunctive relief that is even more valuable and significant. After numerous hearings

and extensive briefing and arguments, this Court has found the Settlement fair, reasonable, and

ready for implementation. ECF No. 2931. The Class was therefore on the cusp of receiving

ground-breaking relief that would remake the way health care is purchased, sold, and delivered

for hundreds of millions of individuals and businesses.

       But those hard-won gains are now at risk of an extended, unjustified delay. Four appeals

filed by six objectors (out of 100,000,000 Class members receiving notice) threaten to delay key

relief during prolonged appeals likely to extend for more than a year. Few of the Settlement’s



1
 “Subscriber Class,” “Subscribers,” or the “Class” refers to all members of the Settlement
Classes as defined in the Settlement Agreement, ECF No. 2610-2, at 18 ¶ 1.mmmm. All other
capitalized terms have the meanings assigned in the Settlement Agreement.
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benefits will be realized during those appeals, and some of those lost benefits will never be

recouped. For example, key parts of the “historic” and “transformative” injunctive relief that will

“greatly benefit the members of the Subscribers Class”—relief that this Court properly

characterized as “even more crucial[]” than the $2.67 billion in cash, ECF No. 2932 at 3; ECF

No. 2931 at 5—will not take effect until the appeals are resolved. Similarly, the cash component

of the Settlement will remain handcuffed, parked in government securities and money market

accounts until the appeals are resolved, generating further losses. And a prolonged delay in

settlement administration could easily add more than $10 million to the cost of effectuating relief

for the Class. Subscriber Plaintiffs will go forever uncompensated for those multi-year losses

unless the objectors, Employee Services, Inc. and Topographic, Inc.; Jennifer Cochran and

Aaron Craker; Home Depot, Inc.; and David G. Behenna (the “Objector-Appellants”), pay the

costs of that unfair and unjustified delay if their appeals are unsuccessful.

       In recent filings, Objector-Appellants Home Depot, Topographic, Inc, Employee

Services, Inc. and David Behenna have flatly refused to expedite briefing of their appeals. See

infra n.2. This Court has ample power—under Federal Rules of Appellate Procedure 7 and 8, as

well as its inherent authority—to require Objector-Appellants to post an appropriate appeal bond

limiting the appeals’ damage-by-delay to the Class. Allapattah Servs., Inc. v. Exxon Corp., 2006

WL 1132371 (S.D. Fla. Apr. 7, 2006) (imposing $13.5 million appeal bond on objector to $1.075

billion settlement). And equity demands it.

                                         BACKGROUND

       This “extraordinarily complex, protracted, and hard-fought” multidistrict litigation is in

its tenth year. ECF No. 2931 at 1–2. The parties litigated, and the Court addressed, “over a dozen

motions to dismiss” and the Court ruled on over 150 discovery motions. Id. at 2. Discovery



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entailed the production and review of over 15 million pages of documents, at least 140

depositions, and challenges to hundreds of thousands of privilege log entries (resulting in 45

Reports & Recommendations by the Special Master). Id. Summary judgment alone required

several rounds of briefing that culminated in key victories for the Subscriber Plaintiffs. Id. at 3.

       More than seven years ago, the parties launched settlement negotiations. Id. In July 2019,

the Subscriber Plaintiffs and the Blues recognized the need for a Self-Funded Sub-Class, and

after the Self-Funded Sub-Class was brought into the fold and given the opportunity to engage

independent experts, a term sheet was executed in November 2019. Id. at 4. With the assistance

of Special Master Edward Gentle and Mediator Kenneth Feinberg, the parties agreed on an

equitable distribution of the net settlement fund, which Mr. Feinberg found to be reasonable. Id.

at 4. In October 2020, the parties entered into the Settlement Agreement and in November 2020

this Court preliminarily approved it. Id. at 5. The Settlement was met with widespread approval

and an infinitesimal number of objectors, particularly given the 100-million-member class size.

Id. at 42–43.

       In October 2021, the Court conducted a multi-day fairness hearing and, after permitting

Subscriber Plaintiffs to send a supplemental notice to Administrative Services Only (“ASO”)

Plans, the Court overruled the Second Blue Bid relief objections, see id. at 44–45. In August

2022, the Court carefully considered—and rejected—all remaining objections to the Settlement

Agreement. Id. at 45–80. The Objector-Appellants appealed that ruling. See ECF Nos. 2940,

2943, 2942, 2944. 2


2
 To further increase the likelihood of an expeditious resolution of this action and the Class’s
prompt receipt of the Settlement’s full benefits, the Class has, in addition to filing this motion,
moved in the Eleventh Circuit to expedite Objector-Appellants’ appeals. Pls.-Appellees’ Mot. to
Expedite and Consolidate Appeals, 22-13051 (Oct. 5, 2022). Home Depot, Topographic, Inc.,
Employee Services, Inc. and David Behenna have opposed any change to the briefing schedule.
See The Home Depot Appellants’ Response To Motion To Consolidate And To Expedite

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                                           ARGUMENT
       Objector-Appellants’ appeals will impose substantial costs on the Class, including (1) the

added costs of maintaining and servicing massive databases used for Class notice, (2) the costs of

delayed and obstructed injunctive relief for which Subscriber Plaintiffs will go forever

uncompensated, and (3) the lost liquidity from two years of locking up the Settlement’s cash

proceeds in money-market funds and U.S. Treasury obligations. The Court has—and should

exercise—the power to require Objector-Appellants to cover those costs with a bond, which will

protect Subscriber Plaintiffs from having to undertake burdensome attempts to recover such costs

if this Court is affirmed on appeal.

  I.   The Court can and should require Objector-Appellants to post an appeal bond
       under Federal Rule of Appellate Procedure 7.
       This Court’s power to impose an appeal bond on the Objector-Appellants is indisputable.

Federal Rule of Appellate Procedure 7 provides:

               In a civil case, the district court may require an appellant to file a
               bond or provide other security in any form and amount necessary
               to ensure payment of costs on appeal.




Appeals (Oct. 12, 2022); Appellants’ Opposition to Motion to Consolidate and Expedite Appeals
(Oct. 12, 2022); and Appellant’s Response in Opposition to Plaintiffs-Appellees’ Motion to
Consolidate and Expedite Appeals (Oct. 17, 2022). As of the date of this Motion, Objector-
Appellants Cochran and Craker have not responded to the motion to expedite.


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Courts routinely require class action objectors to post appeal bonds, 3 including in antitrust

cases. 4 That is because “[t]he protection afforded by a bond is especially necessary where an

objector appeals a final order approving a settlement in a class action.” Aboltin v. Jeunesse LLC,

2019 WL 1092789, at *3 (M.D. Fla. Feb. 15, 2019).

       This Court should exercise its power here to require a bond from Objector-Appellants.

The factors typically considered when assessing whether to require a bond under Rule 7 strongly

favor the imposition of one in this case. Those factors include: (A) appellants’ financial ability to

post a bond; (B) the appeals’ merits; (C) the risk that appellants will not voluntarily pay costs if

unsuccessful and the difficulty of collecting such costs; and (D) appellants’ prior conduct,

including any bad faith. Id.; see also In re Initial Pub. Offering Sec. Litig., 728 F. Supp. 2d 289,

293–94 (S.D.N.Y. July 20, 2010).

       A.      The Objector-Appellants can post a bond.

       An appellant’s financial ability to post an appeal bond favors the imposition of one. In re

Polyurethane Foam Antitrust Litig., 178 F. Supp. 3d 635, 641–42 (N.D. Ohio. Apr. 13, 2016). It

is presumed that appellants have the financial ability to post an appeal bond, and it is their



3
 See, e.g., In re Enfamil Lipil Mktg. & Sales Practices Litig., 2012 WL 1189763, at *5 (S.D. Fla.
Apr. 9, 2012); In re Wachovia Corporation “Pick-a-Payment” Mortgage Marketing and Sales
Practices Litigation, 2011 WL 3648508 (N.D. Cal. Aug. 18, 2011); In re Wells Fargo Loan
Processor Overtime Pay Litigation, 2011 WL 3352460 (N.D. Cal. Aug. 2, 2011); Gemelas v.
Dannon Co., No. 1:08CV236, 2010 WL 3703811, at *3 (N.D. Ohio Aug. 31, 2010); In re Initial
Pub. Offering Sec. Litig., 728 F. Supp. 2d 289, 295 (S.D.N.Y. July 20, 2010); In re Wal-Mart
Wage & Hour Emp't Practices Litig., 2010 WL 786513, at *2 (D. Nev. Mar. 8, 2010); In re AOL
Time Warner, Inc., Sec. & “ERISA” Litig., 2007 WL 2741033, at *3 (S.D.N.Y. Sept. 20, 2007);
Barnes v. FleetBoston Fin. Corp., 2006 WL 6916834, at *3 (D. Mass. Aug. 22, 2006).
4
 See, e.g., In re Currency Conversion Fee Antitrust Litigation, 2010 WL 2033811 (S.D.N.Y.
May 21, 2010); Fleury v. Richemont N. Am., Inc., 2008 WL 4680033, at *9–*10 (N.D. Cal. Oct.
21, 2008); In re Compact Disc Minimum Advertised Price Antitrust Litigation, 2003 WL
22417252, at *2 (D. Me. Oct. 7, 2003); In re Cardizem CD Antitrust Litigation, 391 F.3d 812,
815 (6th Cir. 2004).

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burden to demonstrate otherwise. Id.; In re Enfamil Lipil Mktg. and Sales Practices Litig., 2012

WL 1189763, at *4 (S.D. Fla. Apr. 9, 2012) (“An objector’s ability to post a bond is

presumed.”). Several of the objectors, such as Home Depot U.S.A., Inc., Employee Services,

Inc., and Topographic, Inc. are large corporate entities operating across the country and should

easily be able to afford an appeal bond. 5 Although the other Objector-Appellants are individuals,

none has demonstrated an inability to pay an appeal bond, much less a modest portion of one. 6

       B.      The four appeals lack merit.

       An appeal’s lack of merit also favors imposition of a bond. In re Cardizem CD Antitrust

Litig., 391 F.3d 812 (6th Cir. 2004) (merit factor favors bond even where appeal does not

“border[] on the frivolous”); In re Polyurethane Foam, 178 F. Supp. 3d at 640–41 (similar). The

test is whether the District Court harbors substantial doubts as to the accuracy of the rulings

appealed; where no such doubt exists, this factor justifies a bond. See, e.g., In re Polyurethane

Foam, 178 F. Supp. 3d at 641–42; In re Enfamil, 2012 WL 1189763, at *4; In re Initial Pub.

Offering, 728 F. Supp. 2d at 293–94. Based on days of hearings, thousands of pages of exhibits,

and a detailed, reasoned opinion, this Court roundly rejected Objector-Appellants’ arguments,

and they are unlikely to prevail on appeal. 7


5
  Home Depot is a multinational behemoth with a market capitalization upwards of $280 billion;
it reported more than $150 billion in revenues in 2021. Employee Services is a large employee
assistance program that serves more than 2,000 public and private employers, and has more than
1.5 million members. Topographic, Inc. is a national energy and environmental consulting firm
operating in 26 states with more than 450 employees. See https://www.hbsdealer.com/another-
record-year-home-depot; https://www.theeap.com/about-us; and
https://www.topographic.com/history/.
6
  As explained below, assuming the individual Objector-Appellants offer persuasive evidence of
their limited means, Subscribers do not object to them posting a smaller portion of the bond.
7
 Indeed, this Court bent over backwards to accommodate certain of the Objector-Appellants (the
ASOs) by permitting a second, expensive round of Class notice to address their stated concerns.
See ECF No. 2931 at 6.

                                                 6
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       C.      Unless the Court requires a bond, there is a risk of nonpayment and a
               substantial likelihood that recovering appeals costs will be onerous.

       Bonds are favored whenever there is a risk of nonpayment of appeals costs. In re Equifax

Inc. Customer Data Security Breach Litig., 999 F.3d 1247, 1283 (11th Cir. 2021). This factor is

particularly important. Id. at 1283–84; see also 4 NEWBERG & RUBENSTEIN ON CLASS ACTIONS

§ 14:15 (6th ed. 2022). Courts apply this test not by looking at the appellants’ wealth but by

considering whether, absent a bond, recovery of costs ex post would be difficult for appellees

once the judgment is affirmed; such difficulty arises when appellees would need to undertake

multiple collection efforts because the objectors are geographically dispersed or outside the

Court’s jurisdiction. See In re Equifax Inc. Customer Data Security Breach Litig., 1:17-md-

02800, ECF No. 1094 at 9 (N.D. Ga. May 11, 2020) (factor favored bond because objectors

“reside[d] outside of th[e] Court’s physical jurisdiction” so “i[f] the costs of appeal [were] not

voluntarily paid, the Plaintiffs would be forced to institute a collection action in one or more

other jurisdictions”), aff’d, 999 F.3d at 1283–84 (affirming bond on this “independent” ground);

Dennings v. Clearwire Corp., 928 F. Supp. 2d 1270, 1271–72 (W.D. Wash. Mar. 11, 2013)

(factor favored bond because objector resided out of state); see also In re Initial Pub. Offering,

728 F. Supp. 2d at 293 (factor favored bond because objectors were geographically dispersed and

plaintiffs “would need to institute collection actions in numerous jurisdictions to recover their

costs”).

       This factor strongly favors a bond here. The Objector-Appellants are geographically

dispersed and all are outside the jurisdiction of this Court. Jennifer Cochran and Aaron Craker

reside in Louisville, Kentucky; Home Depot is headquartered in Atlanta, Georgia; David

Behenna resides in Portsmouth, New Hampshire; Topographic, Inc. is headquartered in Fort

Worth, Texas; and Employee Services, Inc. is based in Wellsville, New York. If this Court is


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affirmed on appeal and Objector-Appellants do not voluntarily pay costs, the Class will be left

with no choice but to pursue appeals costs in multiple collection actions across the country.

Moreover, the risk of nonpayment and burden of cost recovery is heightened in this case because

the appeals costs will be extraordinary given the Settlement’s size, see infra Section II.

       D.      Objector-Appellants’ litigation conduct warrants imposing a bond.

       The litigation conduct factor is frequently given little weight, if any. See, e.g., Aboltin,

2019 WL 1092789, at *4. (imposing bond without making any findings as to bad faith); see also

Equifax, 999 F.3d at 1283–84 (11th Cir. 2021) (affirming bond based on nonpayment factor

without considering litigation conduct factor, which it concluded “may not be relevant”). And

courts have imposed appeal bonds without finding that the objectors were proceeding in bad faith

and “simply attempting to extract money from the settling parties.” Aboltin, 2019 WL 1092789,

at *4. Thus, even if Objector-Appellants are not objecting in bad faith, their belated attempt to

delay execution of the settlement favors a bond. See In re Checking Account Overdraft Litig.,

2012 WL 456691, at *2 (S.D. Fla. Feb. 14, 2012). The parties and this Court have worked

tirelessly to resolve this “extraordinarily complex, protracted, and hard-fought” ten-year-old

litigation. ECF No. 2931 at 2. Home Depot, and the other ASOs, for example, showed no interest

in pursuing claims against the Blues until the Settlement was effectively in place. They neither

sought intervention nor advanced their own claims, but merely objected to the hard-won

Settlement reached by others. 8


8
  Moreover, at least one of the objectors is affiliated with the same counsel whom the District
Court in Equifax labeled a “serial objector[].” In re Equifax Inc. Customer Data Security Breach
Litig., 1:17-md-02800, ECF No. 1094 at 7 (N.D. Ga. May 11, 2020) (“This Court has already
found that Objector[] [George] Cochran [and others] are serial objectors, that they have
unsuccessfully asserted many of the same or similar objections in other class action settlements,
[and] that their objections are not in the best interests of the class.” (internal quotation marks
omitted)); see In re Blue Cross Antitrust Lit., ECF No. 2943 (showing that Objector-Appellant
Jennifer Cochran is affiliated with George Cochran). In Equifax, Judge Thrash suggested that

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 II.   The bond should include costs taxable under Federal Rule of Appellate Procedure
       39(e), settlement administration costs, and delay costs.
       The bond amount is left to this Court’s sound discretion. In re Young v. New Process

Steel, LP, 419 F.3d 1201, 1207–08 (11th Cir. 2005); see also In re Equifax Customer Data

Security Breach Litig., 1:17-md-02800-TWT, ECF No. 1094 at 5 (N.D. Ga. May 11, 2020). The

purpose of Federal Rule of Appellate Procedure 7 is to “protect the rights of appellees brought

into appeals court by the appellants.” Pedraza v. United Guaranty Corp., 313 F.3d 1323, 1333

(11th Cir. 2002) (internal quotation marks omitted). And the appeals costs enumerated as taxable

by Federal Rule of Appellate Procedure 39(e) are not exhaustive. Id. at 1329–30. The bond

should thus include costs under Rule 39(e); costs the class will endure based on the appeals

prolonging the notice and settlement administration period; and the cost of delayed relief to the

Class flowing from the appeals.

       First, the bond should include costs expressly taxable under Rule 39(e), which are

regularly bonded on appeal. Id. at 1329–30. Those costs include expenses related to the

preparation and transmission of the record, and preparation of appellate briefs and appendices.

Fed. R. App. 39(e). Subscriber Plaintiffs estimate that they could incur approximately $20-

25,000 in these types of taxable costs, which is unsurprising considering the gargantuan size of

the record and the number of appeals they will need to address. See ECF No. 2931 at 2–3

(describing size of record and scope of litigation effort).

       Second, the bond should include costs of administering the Settlement that will grow

because of the appeal. Such settlement administration costs are frequently included in a bond. In



this fact favored imposition of the bond. 1:17-md-02800, ECF No. 1094 at 7–10 (N.D. Ga. May
11, 2020). Although the Eleventh Circuit did not opine on that suggestion, it held that Mr.
Cochran’s arguments were wholly meritless. 999 F.3d at 1273–74, 1283–84. These facts, too,
favor a bond. See In re Enfamil, 2012 WL 1189763, at *4.

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re New Jersey Tax Sales Certificates Antitrust Litig., 750 F. Appx. 73, 84–85 (3d Cir. 2018)

(affirming Rule 7 bond that included “administrative expenses”); In re Polyurethane Foam, 178

F. Supp. 3d 635, 645 (N.D. Ohio Apr. 13, 2016) (adding amounts “to the bond for increased

administrative costs”); In re Nutella Mktg. & Sales Pracs. Litig., 589 F. App'x 53, 61 (3d Cir.

2014) (affirming appeal bond that included cost of continued settlement administration);

Dennings v. Clearwire Corp., 928 F. Supp. 2d 1270, 1271 (W.D. Wash. Mar. 11, 2013)

(including in bond “increased expenses in settlement administration and administrative costs”);

In re Uponor, Inc. F1807 Plumbing Fittings Prods. Liab. Litig., 2012 WL 3984542, at *4 (D.

Minn. Sep. 11, 2012) (same; “[c]osts incurred as a result of delay of a settlement caused by an

appeal are recoverable under Rule 7”); Miletak v. Allstate Ins. Co., 2012 WL 3686785 (N.D. Cal.

Aug. 27, 2012) (including administrative costs in bond); In re Checking Account, 2012 WL

456691, at *2 (same); In re Pharma. Industr. Average Wholesale Price Litig., 520 F. Supp. 2d

274 (D. Mass. Nov. 2, 2007) (same); In re Compact Disc Minimum Advertised Price Antitrust

Litigation, 2003 WL 22417252 (D. Maine, Oct. 7, 2003) (same); Brandewie v. Wal-Mart Stores,

Inc., 2016 WL 698110, at *3 (N.D. Ohio Feb. 22, 2016) (including “the delay of administering

the class action or providing notice to class members”).

       Here, settlement administration costs will include servicing, protecting, and maintaining

the massive, complex database of Defendants’ claims data relating to hundreds of millions of

insureds, as well as the database relating to over eight million claim forms already filed by class

members. Ex. A, Bian Decl. ¶ 3. They will also include the maintenance and use of website

pages and a call center that provide information to class members which must be maintained

through appeal and the costs of providing class-wide notices necessary during the appeal. Id; see

also Heekin v. Anthem, Inc., 2013 WL 752637, at *4 (S.D. Ind. Feb. 27, 2013) (including in bond



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the maintenance and use of website and hotline). Moreover, because of the Class’ immense size,

a delay in distributing monetary relief will require it to endure the costs of reestablishing contact

information for Class members, hundreds of thousands of whom are likely to move—or die—

before the appeals are resolved. All of these costs will diminish the $2.67 billion Settlement

Amount. ECF No. 2610-2 at 40. JND Legal Administration, the Court-approved provider of

Notice and Administration services under the Settlement, estimates that these costs will total at

least $13.9 million. Ex. A, Bian Decl. ¶ 4. 9

       Third, the bond should include the substantial costs the Class will endure because the

appeals will (a) delay the full scope of the injunctive relief the Court has approved, and (b)

penalize the Class by sequestering the Settlement proceeds in low-yield money-market funds and

the like, for the entire period of the appeals. The settlement provides for wholesale, nationwide

changes to the health insurance market and creates a $2.67 billion fund. Large parts of the

injunctive relief benefits, however, will remain inoperative for a year or more during the appeal.

When a class is deprived of the benefit of the judgment due to an appeal, an appeal bond is

intended to cover the cost of that delay. In re Polyurethane Foam, 178 F. Supp. 3d at 639–42,

645 (finding that “lost interest” “should be included in the bond”); Brandewie, 2016 WL 698110,

at *3 (“consider[ing]” that “the appeal will deprive class members of the use of” settlement funds

when setting appeal bond amount); In re Checking Account, 2012 WL 456691, at *3 n.6

(explaining that bond amount was derived from calculating lost interest on $280 million

settlement); In re Wal-Mart Wage & Hour Emp. Pracs. Litig., 2010 WL 786513, at *2 (D. Nev.



9
 To be sure, the Class does not risk bearing these costs, until they exceed $100 million, ECF No.
2610-2 at 12–13, at which point it is Settlement Class Counsel and Self-Funded Sub-Class
Settlement Counsel’s responsibility to request from the Court that Defendants replenish the
Notice and Administration Fund. But current estimates from JND show that total notice and
administration costs will in fact exceed $100 million. Ex. A, Bian Decl. ¶ 5.

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Mar. 8, 2010) (including in bonds an estimate of “interest costs” to class members caused by the

appeal); Allapattah, 2006 WL 1132371 at *18 (requiring a $13,500,000 bond to cover the

damages, costs, and lost interest flowing from appeal). 10

       The appeals will cause the Class to incur at least two delay costs. By impounding the

settlement fund in low-yield money-market accounts during the appeals’ pendency, those appeals

will deprive the Class of substantial “liquidity value”—worth approximately $54.2 million. Ex.

B, McKnight Decl. ¶¶ 8–10 & T.2. 11 At least as important, the delay will prevent the Class from

receiving key components of the Settlement’s injunctive benefits. Critically, the appeal will

permanently deprive the Subscribers of as much as two years of those injunctive benefits. As this

Court has recognized, this “historic” and “transformative” injunctive relief is “even more

crucial[]” than the $2.67 billion settlement fund, ECF No. 2931 at 3, 5, 40–41, 68 (explaining

that the structural relief is “truly exceptional” and an “excellent result”). Unless Objector-

Appellants shoulder these costs if their appeal fails, the Class will go forever uncompensated for

the delay in injunctive relief, and the cost of that delay is approximately $45.8 million.12 This

Court should therefore require the Objector-Appellants to post a bond that includes both $45.8



10
   The Eleventh Circuit has not addressed whether delay costs can be included in an appeal bond.
In Pedraza, however, the Court held that Federal Rule of Appellate Procedure 7 “never sets forth
an exhaustive list or a general definition of ‘costs,’” and expressly rejected a construction of Rule
7 that would limit the Rule to the routine “costs” specified in Federal Rule of Appellate
Procedure 39. 313 F.3d at 1330 (“Under no fair reading of the simple, unambiguous language of
Rule 39 can an exportable definition of ‘costs’ be perceived in the language of that provision.”).
11
  As set forth in his Declaration, David McKnight of the Brattle Group explains that locking up
the Settlement proceeds for two years will deprive Class members of access to funds that they
could otherwise use to pay down debt or invest. The loss to Class members of being deprived of
access to the Settlement proceeds is the cost they would incur to borrow those funds today. Id.
12
   Mr. McKnight likewise estimates that the injunctive relief delay costs would total $45.8
million. Ex. B, ¶¶ 5–7 & T.1. This calculation assumes that the value of the Settlement’s deferred
injunctive relief is only one-fifth of the cash value. Id. ¶ 5.

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million for the delayed injunctive relief and $54.2 million for the lost liquidity, based on a two-

year appeals duration. Ex. B, McKnight Decl. ¶ 11. 13

III.   Even apart from Federal Rule of Appellate Procedure 7, this Court has ample
       authority to impose the bond described herein.
       Federal Rule of Appellate Procedure 8 and this Court’s inherent power each

independently justify the bond. A Rule 8 bond is appropriate when a class action objector

appeals a finally-approved settlement, effectively staying the district court’s final judgment. In re

Checking Acct, 2012 WL 456691, at *2 (“[B]ecause the filing of this appeal prevents distribution

of the Settlement proceeds as ordered by this Court’s Final Judgment, it is an actual stay of

Judgment and bond is appropriate”). And Rule 8 bonds commonly include delay costs caused by

appeals. See, e.g., Aboltin, 2019 WL 1092789, at *3; In re Checking Account, 2012 WL 456691,

at *2–*3. By preventing substantial portions of the injunctive relief from taking effect and

preventing the determination and payment of any monetary claims, Objector-Appellants’ appeals

have effectively stayed this Court’s final judgment; they should be required to post a bond.

       This Court also has the inherent authority to impose such a bond. See Linneman v. Vita-

Mix Corp., 2018 WL 5722722, at *4 (S.D. Ohio Nov. 1, 2018) (exercising inherent power to

require objectors to post bond that included delay costs). In Pedraza, 313 F.3d at 1335, the

Eleventh Circuit observed:

               The district court also relied on its inherent power to manage its
               affairs as an alternate basis for its inclusion of estimated attorneys'
               fees within the appellate cost bond that it required of Olorunnisomo.
               The court was correct in recognizing that in addition to enjoying
               broad discretion to manage litigation before them, federal courts

13
   It is appropriate to estimate the lost liquidity value based on the same two-year appeals
duration used to estimate the value of the lost injunctive relief. Based on the complexity of the
claims payment process and the fact that distributions cannot occur until all claims are approved,
see generally ECF No. 2610-5 (while Objector-Appellants challenge the allocation of the
Settlement fund itself), the appeals will effectively pause the claims adjudication and distribution
process.

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               possess the inherent power to require the posting of cost bonds and
               to provide for the award of attorneys' fees. See Chambers, 501 U.S.
               at 47–48, 111 S.Ct. at 2134–35 (attorneys’ fees); HMG Prop.
               Investors, Inc. v. Parque Indus. Rio Canas, Inc., 847 F.2d 908, 916
               (1st Cir. 1988) (bonds). Notably, courts possess these powers "even
               if procedural rules exist which [govern] the same
               conduct." Chambers, 501 U.S. at 49, 111 S.Ct. at 2135.

The exercise of that inherent power is particularly appropriate here, given the massive and far-

reaching nature of the Settlement, and the Objector-Appellants’ power to delay relief for millions

of Class members.

                                             CONCLUSION

       For all of the foregoing reasons, the Court should require the Objector-Appellants to post

an appeal bond. Although some courts have required each objector to post a separate bond, e.g.,

In re Checking Account, 2012 WL 456691, at *3, Subscriber Plaintiffs do not object to Objector-

Appellants posting a bond jointly and severally. See In re Polyurethane Foam, 178 F. Supp. 3d at

645 (“Courts routinely require multiple objectors who are appealing the same order to post a

bond jointly and severally,” which allows objectors to “pool their resources” making the bonds

“less onerous” for each appellant) (collecting cases). So that the individual Objector-Appellants’

appellate rights are not overburdened, the bond should be two-tiered: At the first tier, the three

corporate Objector-Appellants (Home Depot, Topographic and Employee Services) should be

required to collectively post a bond of $113 million, which includes costs taxable under Rule

39(e), administrative costs, and delay costs (less costs covered by the second tier); at the second

tier, the individual Objector-Appellants should be required to collectively post a bond of

$900,000—less than 1% of the total amount secured. 14



14
  Collectively, the two bonds amount to the total costs of $113.9 million, which is $20,000 (Rule
39(e) costs) + $13.9 million (settlement administration costs) + $54.2 million (lost liquidity
value) + $45.8 million (lost injunctive relief value), rounded down.

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This the 1st day of November, 2022         Respectfully submitted,

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       I hereby certify that on November 1, 2022, the foregoing was filed with the Clerk of the Court

and served on counsel of record via ECF.

                                                                /s/ David Guin




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